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                         EXHIBIT 1




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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,
                                             Case No. 23-cr-239 (CKK)
            v.

ILYA LICHTENSTEIN, et al.,

                  Defendants.



    MEMORANDUM IN SUPPORT OF OBJECTION TO GOVERNMENT’S
        SUPPEMENTAL MOTION REGARDING RESTITUTION




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       Movants Messrs. Hjalmar Peters (“Mr. Peters”), Allan Newman (“Mr. Newman”), Dolan

Harrington (“Mr. Harrington,”), Christian Dressler (“Mr. Dressler”), and Juergen Lankat (“Mr.

Lankat,” and together with Messrs. Peters, Newman, Harrington, and Dressler, “Movants”), acting

singly, by and through their undersigned counsel, respectfully submit this memorandum of law in

support of its objection (the “Objection”) to the Government’s Supplemental Motion Regarding

Restitution (the “DOJ Memo,” ECF No. 202).

                                PRELIMINARY STATEMENT

       Movants are victims of the Defendants’ scheme to steal and launder assets from the

Bitfinex cryptocurrency exchange in 2016, and they collectively lost nearly 30 Bitcoin (BTC) and

other assets from such scheme. Because these losses were directly and proximately caused by

Defendants’ crimes, Movants are victims under the Mandatory Victims Restitution Act (MVRA)

and the Crime Victims’ Rights Act (CVRA) – as are all similarly-situated former and current

Bitfinex accountholders – and respectfully request in-kind restitution of the assets taken from their

wallets. In addition, for the various reasons discussed below, Bitfinex should not receive any

restitution and the DOJ Memo fails to justify awarding $10 billion of assets as “restitution” to

Bitfinex.

                                      RELEVANT FACTS

       A. The Hack

       Movants were customers of Bitfinex, an online cryptocurrency platform headquartered in

Hong Kong. In late 2015 or early 2016, Defendant Lichtenstein concocted a scheme to access

Bitfinex’s servers and steal accountholders’ cryptocurrency on the platform for themselves. See

Government’s Mot. for Downward Departure and Memo. in Aid of Sentencing, ECF No. 46, at 2

(“Beginning in or around late winter and early spring of 2016, the defendant embarked on a scheme
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to steal money from Bitfinex, one of the largest virtual currency exchanges in operation at the

time.”). On or about August 2, 2016, Defendant Lichtenstein hacked into Bitfinex (the “Hack”),

stealing nearly $10 billion (based on current valuations) of digital assets from accountholders.

        Immediately following the Hack, Bitfinex unilaterally decided “that losses [from the Hack]

must be generalized across all accounts and assets.” Security Breach - Update 3 (Aug. 6, 2016),

available at https://www.bitfinex.com/posts/129 (last accessed: Jan. 15, 2025). As a result, all

accountholders “experienced a generalized loss percentage of 36.067%”—in other words, every

Bitfinex accountholder had the value of its assets reduced by 36.067% after the Hack. In exchange,

Bitfinex offered little more than its own “BFX” tokens, which were grossly insufficient to make

accountholders whole after the Hack.

        On or about February 1, 2022, the U.S. Government seized, among other things, more than

94,643.29837084 Bitcoin that Defendants stole from the Bitfinex accountholders (the “Recovered

Assets”). See Corrected and Amended Attachment A to the Second Amended Preliminary Order

of Forfeiture, at 1, 5-11.

        B. The Lost Assets

        Each Movant seeks restitution in the full amount of the assets that the Movant lost in

connection with the Hack.

        Mr. Peters: As part of the Hack, Defendants stole 12.94485805 Bitcoin (BTC) (“Mr.

Peters’ Lost Assets”) from Mr. Peters by directly transferring such assets from Mr. Peters’ own

multi-signature wallet into Defendants’ virtual wallet, the contents of which were later seized by




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the U.S. Government. In Mr. Peters’ Ancillary Petition, he provides information that directly

traces Mr. Peters’ Lost BTC to the Recovered Assets. See ECF No. 204.1

        Mr. Newman, Mr. Harrington, Mr. Dressler, and Mr. Lankat: Either as direct result of the

Hack, and/or due to Bitfinex’s effort to “generalize” losses across accountholders:

       8.76586537 BTC and 22.113265451 Litecoin (LTC) (“Mr. Newman’s Lost Assets”) were
        removed from Mr. Newman’s multi-signature wallet and/or account;

       2.35436113 BTC (“Mr. Harrington’s Lost Assets”) were removed from Mr. Harrington’s
        multi-signature wallet and/or account;

       0.90305977 BTC and 91.1871525 Ethereum (ETH) (“Mr. Dressler’s Lost Assets”) were
        removed from Mr. Dressler’s multi-signature wallet and/or account; and

       4.78591312 BTC (“Mr. Lankat’s Lost Assets” and, together with Mr. Peters’ Lost Assets,
        Mr. Newman’s Lost Assets, Mr. Harrington’s Lost Assets, and Mr. Dressler’s Lost
        Assets, the “Lost Assets”) were removed from Mr. Lankat’s multi-signature wallet and/or
        account.

        Bitfinex did not provide any information regarding whether it – i.e., Bitfinex – or the

hackers, took control or possession of the Lost Assets and to-date has not been made to account

for the Lost Assets taken from Movants.

        C. The Lost Assets Belong to Movants

        To transact business on the platform, Bitfinex accountholders were provided with her/his

own “multi-signature wallets” into which, inter alia, the accountholder could deposit Bitcoin for

purposes of buying, selling, trading and/or engaging in other financial transactions on the platform.

The Bitcoin in these multi-signature wallets belonged solely and exclusively to the respective

customer. At the time of the Defendants’ Hack, section 5.1 of Bitfinex’s Terms of Service stated

that “all bitcoins in your Multi-Signature Wallets belong to and are owned by you [the customer].”


        1
            Further information regarding Mr. Peters’ Lost Assets and Mr. Newman’s Lost Assets
is set forth in their respective Verified Ancillary Petitions. See ECF Nos. 203-204. Messrs.
Harrington, Dressler, and Lankat intend to file verified ancillary petitions in the coming days.
                                                 3
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Bitfinex, Terms of Service (June 9, 2016) (as preserved by Internet Archive); Can Bitfinex Really

Impose a $72 Million Theft on Its Customers?, Fortune (Aug. 15, 2016), available at

https://fortune.com/2016/08/15/bitfinex-bitcoin-hack-hong-kong-customers-law/ (last accessed:

Jan. 15, 2025) (quoting Bitfinex’s terms of service).

       Indeed, Bitfinex championed its use of individual customer-owned wallets in its marketing

materials and to the U.S. Commodities Futures Trading Commission (“CFTC”) during the CFTC’s

2015-16 investigation into Bitfinex’s practices. See, e.g., Business Wire, Bitfinex and BitGo

Partner to Create World’s First Real-Time Proof of Reserve Bitcoin Exchange (June 3, 2015),

available at https://www.businesswire.com/news/home/20150603005462/en/Bitfinexand-BitGo-

Partner-to-Create-World%E2%80%99s-First-Real-Time-Proof-of-Reserve-Bitcoin-Exchange

(“Bitfinex . . . for the first time ever offers complete segregation of all customer bitcoins”; quoting

Bitfinex’s statement that “[t]he era of commingling customer Bitcoin and all of the associated

security exposures is over”) (last accessed: Jan. 15, 2025).2

       The Government acknowledges that the Lost Assets and other assets lost in the Hack

belonged to Bitfinex accountholders. For example, the Statements of the Offense explain that

“LICHTENSTEIN ultimately gained access to the keys, or credentials, used to authorize

transactions involving virtual currencies held by [Bitfinex], including funds belonging to

customers of [Bitfinex].” ECF Nos. 95, 100 (Def. Heather Morgan’s Statement of the Offense and




       2
           In its order imposing sanctions on Bitfinex on June 2, 2016—mere months before the
Hack—the CFTC found that Bitfinex abandoned its prior approach of using an “omnibus
settlement wallet” that was “owned and controlled by Bitfinex” and, instead, in 2015 and January
2016, made changes to its infrastructure such that “bitcoins purchased using both the Exchange
Trading and Margin Trading features [on Bitfinex] were held in individually enumerated, multi-
signature wallets” for each trader. Order Instituting Proceedings Pursuant to Sections 6(c) and
6(d) of the Commodity Exchange Act, as Amended, Making Findings and Imposing Remedial
Sanctions, CFTC Docket No. 16-19, at 3 (June 2, 2016).
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Related Conduct at 4, ¶ 14; Def. Ilya Lichtenstein’s Statement of the Offense and Related Conduct)

at 4, ¶ 14 (emphasis added).

       D. The Criminal Proceeding, Forfeiture Orders and Restitution Hearing

       On February 7, 2022, Defendants were charged by criminal complaint with violations of

18 U.S.C. § 1956(h) and 18 U.S.C. § 371. See ECF No 1. The complaint was superseded by a

criminal information filed by the U.S. Government on July 20, 2023. See ECF No. 89. On or

about August 3, 2023, Defendants each pleaded guilty to one count of money laundering

conspiracy in violation of 18 U.S.C. § 1956(h), and Defendant Morgan also pleaded guilty to one

count of conspiracy to defraud the United States in violation of 18 U.S.C. § 371.

       On August 3, 2023, the Court entered Consent Orders of Preliminary Forfeiture, see ECF

Nos. 99, 104, and, on October 25, 2024, Amended Preliminary Orders of Forfeiture as to each

Defendant. See ECF Nos. 153, 154. On November 14, 2024, the Court entered the Second

Amended Preliminary Order of Forfeiture, see ECF No. 178, pursuant to which, inter alia,

Defendants forfeited to the U.S. Government their interest in certain property, including “specific

properties now listed in Amended Attachment A.” Id. at 2. The attachment, as amended and

corrected, identifies in paragraph e. “approximately” 94,643.29837084 BTC (i.e., the Recovered

Assets) that were “seized from wallets recovered from Defendants’ online storage account.” ECF

No. 198-1, at 1.

       On November 21, 2024, the Court scheduled a Restitution Hearing to take place on

February 21, 2025, and ordered any third parties to file any motions to intervene or objections to

the DOJ Memo on or before January 28, 2025. See ECF No. 185.




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                                           ARGUMENT 3

I.      MOVANTS ARE ENTITLED TO RESTITUTION

        The Government wrongly contends that accountholders are not “victims” of the

Defendants’ money laundering conspiracy, resting its argument on the fact that “neither defendant

was convicted of the underlying wire fraud representing the hack and theft of Bitcoin” from

accountholders. DOJ Memo at 2. But that is not the law.

        The MVRA makes restitution to victims mandatory in cases involving an offense to

property under Title 18, including for convictions of money laundering conspiracy under 18 U.S.C.

§ 1965. See 18 U.S.C. § 3663A(a)(1), (c)(1)(A)(ii); United States v. Luis, 765 F.3d 1061, 1066

(9th Cir. 2014) (holding conspiracy to commit money laundering is “offense against property”

under MVRA). As relevant here, the statute directs that “in the case of an offense that involves as

an element a scheme, conspiracy, or pattern of criminal activity,” courts must order restitution to

“any person directly harmed by the defendant’s criminal conduct in the course of the scheme,

conspiracy, or pattern.” 18 U.S.C. § 3663A(a)(2).4

        “Federal courts therefore may order restitution encompassing losses resulting from a

criminal scheme regardless of whether the defendant is convicted for each criminal act within the

scheme, so long as the loss is a direct result of the defendant’s criminal conduct or is closely related

to the scheme.” United States v. Emor, 850 F. Supp. 2d 176, 202 (D.D.C. 2012); see also United

States v. Pole, Crim. Action No. 09-354 (EGS), 2024 U.S. Dist. LEXIS 31017, at *101 (D.D.C.

Feb. 23, 2024); United States v. McCormick, Crim. Action No. 18-359-4 (JDB), 2023 U.S. Dist.


        3
           Movants hereby join and incorporate by reference the arguments made by other
present and former Bitfinex accountholders in their respective motions to intervene and/or
objection filed in response to the DOJ Memo.
        4
          Similarly, under the CVRA, a “crime victim” is any “person directly and proximately
harmed as a result of the commission of a Federal offense.” 18 U.S.C. § 3771(e)(2)(A).
                                                   6
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LEXIS 223353, at *10 (D.D.C. Dec. 15, 2023); United States v. Bogart, 490 F. Supp. 2d 885, 903

(S.D. Ohio 2007) (“[T]he Court[] under the MVRA must order restitution that relates directly to a

victim’s losses within the course of the entire scheme and not simply the loss caused by the specific

conduct that is the basis for the offense of conviction.”). In short, restitution under the MVRA is

proper where, as here, the defendants’ conduct in connection with their scheme or conspiracy

directly harms the victim.

        Here, Movants were directly and proximately harmed by the Defendants’ money

laundering scheme and by Defendants’ conduct in connection with the scheme. The stealing and

laundering of cryptocurrencies began with the planning of the Hack in late 2015 and early 2016.

See ECF No. 146, at 2.        Other acts relating to the Defendants’ scheme occurred almost

simultaneously with the Hack (and no later than August 2016), with the creation of the fictitious

accounts for transferring and concealing the stolen assets. See, e.g., ECF No. 95 (Def. Ilya

Lichtenstein’s Statement of the Offense and Related Conduct) at 9-11, ¶¶ 18, 25. The hacking and

theft of the assets were a critical component of this scheme to launder the assets, and, as a result,

Movants were directly harmed by, and victims of, Defendants’ scheme.

II.     MOVANTS SHOULD BE THE BENEFICIARIES OF ANY VOLUNTARY
        RESTITUTION

        The Government contends that, although Bitfinex is not a “victim” for purposes of the

MVRA, this Court should nonetheless award Bitfinex nearly the entirety of the Recovered

Assets—worth nearly $10 billion—by “agreement” between Defendants and the Government.

DOJ Memo at 3. Not so. “The purpose of restitution ‘is not [] to provide a windfall for crime

victims but rather to ensure that victims, to the greatest extent possible, are made whole for their

losses.’” United States v. Cavallo, 790 F.3d 1202, 1238 (11th Cir. 2015) (quoting United States

v. Huff, 609 F.3d 1240, 1249 (11th Cir. 2010)).

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         Here, neither the Government nor Bitfinex has proffered any evidence to substantiate any

losses suffered by Bitfinex, let alone a basis to provide such an immense windfall to Bitfinex. See

18 U.S.C. § 3664(e). Tellingly, Bitfinex has never claimed ownership of the Recovered Assets—

in fact, in its victim statements, Bitfinex states only that the Recovered Assets were taken “from

Bitfinex” or from its “custody.” ECF No. 175-1 (Letter from Kramer Levin dated Sept. 16, 2024),

at 2, 5; see also id. (Letter from Gibson Dunn dated Nov. 13, 2024), at 1. But the fact that the

Recovered Assets were taken from accountholders’ wallets on the Bitfinex platform—thereby

harming accountholders—does not grant Bitfinex an individual right to restitution or to “return”

of assets that it never owned.

         Simply put, the Government does not seek a “return of lost property to the owner of that

property,” as it initially suggested. ECF No. 146, at 45.5 Rather, it seeks to bestow upon Bitfinex

virtually all of the Recovered Assets, valued at approximately $10 billion in today’s dollars, upon

no showing of any harm or any ownership by Bitfinex. That plan would yield a vast windfall for

Bitfinex at the expense of thousands of individual accountholders. See Cavallo, 790 F.3d at 1238;

Huff, 609 F.3d at 1249. Instead, the Court should exercise its discretion to award any voluntary

restitution from the Recovered Assets directly to Movants and other Bitfinex accountholders.

III.     BITFINEX IS NOT ENTITLED TO RESTITUTION

         The Government’s plan to gift the Recovered Assets to Hong Kong-based Bitfinex raises

a number of additional questions, including how Bitfinex went about “generalizing” losses,

whether Bitfinex kept for itself any assets taken from the accountholders, and whether Bitfinex


         5
            Bitfinex has stated that it seeks the Recovered Assets for its own benefit. See
generally Bitfinex and iFinex November victim statements, ECF No. 175-1, at 2-11; Bitfinex,
Recovery Right Token (RRT) Terms, available at https://www.bitfinex.com/legal/token-
terms/rrt/ (last visited; Jan. 28, 2025) (admitting that “recovery amounts available, if any, in
excess of [the approximately $30 million that it owes customers holding RRT] shall belong to
and be solely vested in the Bitfinex Group”).
                                                 8
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has violated any laws in connection with its handling of the Hack and any subsequent recoveries.

As detailed above, in August 2016, Bitfinex purported to “generalize” its accountholders’ losses

by confiscating their digital assets, without permission or legal right, resulting in a loss of 36.067%

for each accountholders. In 2016, Bitfinex stated that it would, “[i]n a later announcement . . .

explain in full detail the methodology used to compute these losses.” Security Breach - Update 3

(Aug. 6, 2016), available at https://www.bitfinex.com/posts/129 (last accessed: Jan. 15, 2025). It

never did. Thus, to establish relative rights in the Recovered Assets and explore the Government’s

plan to give the Recovered Assets to Bitfinex, discovery is appropriate in this proceeding to explore

Bitfinex’s claims, its accounting of the “generalized losses,” whether Bitfinex converted the non-

BTC assets deducted from accountholders’ accounts to restore its own BTC holdings, and whether

Bitfinex took any improper acts, including actions to deprive Movants and other accountholders

of the benefit of their property and further exacerbate accountholders’ losses.           Further, no

restitution should be granted to Bitfinex in light of the scope of the open issues surrounding the

Hack and Bitfinex’s potential misconduct in taking accountholders’ property to “generalize”

losses.

IV.       RELIEF REQUESTED

          As victims of Defendants’ crimes and/or pursuant to this Court’s discretion to award

voluntary restitution in these proceedings, each Movant respectfully requests return in-kind of the

Lost Assets taken from them in connection with the Hack, subject to any adjustments that the Court

may deem proper, including for any recoveries obtained pursuant to the ancillary forfeiture

proceeding (if any) and such other adjustments as may be ordered by the Court. As additional

support for the losses suffered by Movants, each Movant incorporates by reference his Verified




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Ancillary Petition, whether filed or to be filed in advance of the Restitution Hearing. See ECF

Nos. 203-204.6

                                       CONCLUSION

       For the foregoing reasons, Movants therefore seek restitution in the amount of their

respective Lost Assets from the Recovered Assets.

Dated: January 28, 2025
                                           GREENSTEIN DELORME & LUCHS, P.C.

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       6
          Movants will provide any additional information as the Court may deem necessary or
the Government requests to further substantiate their losses from Defendants’ crimes.
                                              10
